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                  UNITED STATES DISTRICT COURT
                      DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.

MICHAEL T. FLYNN,                    Criminal Action No. 17-232 EGS

Defendant.




                      GENERAL FLYNN’S BRIEF
                     IN OPPOSITION TO AMICUS




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       I.    Introduction to the Arguments Mandating Dismissal with
             Prejudice.

       Counsel for General Michael Flynn files this brief to comply with this court’s

order of May 19, 2020. However, we hereby preserve all objections briefed in our

Petition for Writ of Mandamus and all prior filings in this court.1 This court exceeded

its authority under the Constitution to solicit amici and to appoint an amicus. That

chosen amicus has now engaged in a flagrant personal and partisan assault on

General Flynn, Attorney General Barr, and the President of the United States.

       This court’s friend simply ignores the indisputable, newly-produced evidence

proving that it is General Flynn who was singled out for a baseless, politically

motivated investigation and prosecution. ECF No. 198. In a rarely-mentioned text

message the Government has never produced to General Flynn,2 FBI Agent Strzok

reveals that [Bill] Priestap “doesn’t want Clapper giving CR cuts [transcripts on

Crossfire Razor, the codename for the Flynn operation] to [the Obama] WH. All

political, just shows our hand and potentially makes enemies.” (emphasis

added). After Lisa Page’s reminder about including it already in the “doc on fri,”

Strzok revealed the ultimate problem: “should we[?], particularly to the entirety

of the lame duck usic [United States intelligence community] with partisan

axes to grind.” (emphasis added). Ex.1.


   1 ECF Nos. 98,109, 111, 116, 121, 124, 127, 129, 133, 134, 135, 151, 153, 156, 160,
161, 162, 166, 170, 181, 188, 190, 189, 194, 199, and 204.

   2 This is yet another remarkable Brady violation only recently discovered and not
previously briefed. ECF Nos. 133, 162; Ex. 1.


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          The irony and sheer duplicity of Amicus’s accusations against the Justice

Department now—which is finally exposing the truth—is stunning. Amicus’s filing

is a “wrap-up smear.” It is an affront to the Rule of Law and a raging insult to the

citizens of this country who see the abject corruption in this assassination by political

prosecution of General Flynn. This court exuviated any appearance of neutrality

when it unlawfully appointed Amicus as its own adversary to make these scurrilous

arguments.

      This court must grant the Government’s Motion to Dismiss with prejudice to

which General Flynn has consented. ECF Nos. 198, 202. This court is foreclosed by

all relevant precedent from going behind the current record on the Government’s

Motion to Dismiss. Fundamental principles of separation of powers foreclose any

such inquiry. Wayte v. United States, 470 U.S. 598, 607-08 (1985) (“discretion to

prosecute is particularly ill-suited to judicial review); United States v. Fokker Servs.

B.V., 818 F.3d 733 (D.C. Cir. 2016); In re United States, 345 F.3d 450 (7th Cir. 2003).

Moreover, upon the Government’s Motion to Dismiss and General Flynn’s Consent,

there is no case or controversy which the court can continue to act other than to grant

dismissal. ECF Nos. 198, 202. See United States v. Sineneng-Smith, 140 S. Ct. 1575

(2020).

      While the court may review the existing record on the Government’s Motion to

Dismiss, it may not create a new one. Not a single case authorizes an Article III court

to scrutinize the decision-making process of the Department of Justice in deciding to

correct itself and move to dismiss a prosecution that should never have been brought.


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Instead, for the Department of Justice to correct its own errors and disclose its own

misconduct is routinely applauded—as it should be. Berger v. United States, 295 U.S.

78 (1935); United States v. Smith, 55 F.3d 157; Thompson v. United States, 444 U.S.

248, 250 (1980) (4th Cir. 1995). That is exactly what the Department of Justice did,

albeit on certiorari, in Thompson, 444 U.S. at 250, when the Solicitor General advised

the Supreme Court itself that the prior prosecutor had misrepresented the validity of

the prosecution to the Court. That is why the Supreme Court remanded it to the

Court of Appeals to handle the case in accordance with that new information. That

is also why, in Smith, 55 F.3d at 160, the Fourth Circuit said: “A substantial,

reasonable doubt about the guilt of a defendant that arose after conviction is evidence

of good faith.” Further, just one year ago, in May 2019, this court granted the

Government’s Rule 48(a) motion to dismiss an indictment—adding with prejudice—

due to numerous errors by the government, and in light of the “unusual, and indeed

disturbing facts” of the case. United States v. Pitts, 331 F.R.D. 199, 205 (D.D.C. 2019).

The rules have not changed since this court correctly applied them there.

      Reliance on Young v. United States, 315 U.S. 257 (1942) to support any other

interpretation is entirely misplaced. Young is not a Rule 48(a) case, and moreover, a

confession of error is purely an issue of law which does not implicate any separation

of powers issues. The Government did not terminate the prosecution in Young. Even

the Court held: “The considered judgment of the law enforcement officers that

reversible error has been committed is entitled to great weight, but our judicial

obligations compel us to examine independently the errors confessed." 315 U.S. 257,


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258-59 (1942). Of course, it is the role of Article III courts to apply the law. Young

confirms respect for the separation of powers.

      II.     Preservation of the Separation of Powers is Paramount.

      This court, in essence, appointed its own special prosecutor—adversarial to the

Attorney General and the Defendant—to extend the prosecution of General Flynn

and to consider and suggest further charges or punishment be used against him. This

process was tried previously and ultimately, resoundingly rejected.         In 1978,

Congress passed the Ethics in Government Act that included an independent

prosecutor who worked outside the control of the Attorney General and reported to

Congress. That role sparked the famous Morrison v. Olson litigation in which the

Supreme Court incorrectly held that the office of the independent counsel was

constitutional. Morrison v. Olson, 487 U.S. 654 (1988).

       Justice Scalia’s dissent in Morrison noted that the majority posed two

questions: “1) Is the conduct of a criminal prosecution (and of an investigation to

decide whether to prosecute) the exercise of purely executive power? (2) Does the

statute deprive the President of the United States of exclusive control over the

exercise of that power?” 487 U.S. at 705. He pointed out that the majority answered

both questions in the affirmative, yet contradicted itself to conclude the statute

constitutional even though it “vest[ed] some purely executive power in a person who

is not the President of the United States...”. Id.

      Justice Scalia was proven to be correct. The tortuous and constitutionally

damaging experiment came to an end with the unanimous agreement of Congress


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and the Justice Department that the statute was indeed a violation of the separation

of powers. Scalia’s dissent has taken its place in the canons of constitutional law on

the separation of powers.       He wrote that “[g]overnmental investigation and

prosecution of crimes is a quintessentially executive function,” id. at 706, and that

the independent counsel “deprive[d] the President of exclusive control over that

quintessentially executive activity.” Id.

      Scalia criticized the majority for “replac[ing] the clear constitutional

prescription that the executive power belongs to the President with a ‘balancing test.’”

Id. at 711. In arguing that the court can appoint its own amicus, initiate its own

investigation into General Flynn, and consider further charges against him, the court

argues for just such a constitutionally impermissible balancing test. It is not for the

court to infringe upon the power of the executive. As Justice Scalia wrote: “It is not

for us to determine, and we have never presumed to determine, how much of the

purely executive powers of government must be within the full control of the

President. The Constitution prescribes that they all are.” Id. at 709.

      In McCray v. United States, the Supreme Court said that the judiciary cannot

inquire into Congress’s motive when legislating, lest “the abuse by one department of

the government of its lawful powers is to be corrected by the abuse of its powers by

another department.” 195 U.S. 27, 54 (1904) The Court said that “[t]he proposition,

if sustained, would destroy all distinction between the powers of the respective

departments of the government, would put an end to that confidence and respect for

each other which it was the purpose of the Constitution to uphold, and would thus be


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full of danger to the permanence of our institutions.” Id. at 54-55. The Court stressed

that it is “essential to the successful working of this system that the persons entrusted

with power in any one of these branches shall not be permitted to encroach upon the

powers confided to others, but that each shall by the law of its creation be limited to

the exercise of the powers appropriate to its own department and no other.” Id. at

55. See In Re United States, 345 F.3d at 453 (“A judge could not properly refuse to

enforce a statute because he thought the legislators were acting in bad faith or that

the statute disserved the public interest; it is hard to see, therefore, how he could

properly refuse to dismiss a prosecution merely because he was convinced that the

prosecutor was acting in bad faith or contrary to the public interest.”).

      Finally, the Court noted that the remedy for abuse “lies, not in the abuse by

the judicial authority of its functions, but in the people, upon whom, after all, under

our institutions, reliance must be placed for the correction of abuses committed in the

exercise of a lawful power.” Id. This politically motivated quest to destroy General

Flynn has been damaging the Rule of Law, the integrity of venerable institutions of

government, and now the very structure of our Constitution. This illegal outrage

must stop now.

      III.   This Court Had No Authority to Appoint Gleeson. There is No
             Case or Controversy, and This Court Cannot Usurp or Even
             Inquire Behind a Core Executive Function.

      The Government’s Motion to Dismiss ended the case and controversy before

this court. It has no authority to proceed beyond granting the dismissal. U.S. Const.




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art. III, § 2. The game is over; the Government has left the field. This court must

leave the field also.

         The unanimous decision of the Supreme Court only weeks ago establishes that

an Article III judge cannot create issues for the parties or gin up his own case or

controversy where none exists. Sineneng-Smith, 140 S. Ct. 1575. There the Court

wrote:

         ‘[C]ourts are essentially passive instruments of government.’ United
         States v. Samuels, 808 F. 2d 1298, 1301 (CA8 1987) (Arnold, J.,
         concurring in denial of reh’g en banc)). They ‘do not, or should not, sally
         forth each day looking for wrongs to right. [They] wait for cases to come
         to [them], and when [cases arise, courts] normally decide only questions
         presented by the parties.’ Ibid. Id. at 1579.

         It is an entirely separate violation for the court to enlist amici in a criminal

case—as counsel for General Flynn briefed immediately before and after the court

invited their participation.3     Even more important, the court cannot appoint an

amicus in a criminal case to proceed against a defendant—it has no authority to

appoint anyone to step into the place of the Government in a criminal prosecution.4


   3  ECF No. 204. It also contrary to the Local Rules and improper for the court to
solicit amicus briefs in a criminal case at all. See Hollingsworth v. Perry, 558 U.S.
183, 196 (2010) (“The Court's interest in ensuring compliance with proper rules of
judicial administration is particularly acute when those rules relate to the integrity
of judicial processes”).

   4  The choice of this particular amicus to appear against the Government and the
defense is appalling. As counsel for Respondent admitted in oral argument in the
D.C. Circuit, Gleeson was assigned by the court to be the adversary to the
Government and General Flynn—to take over the role of the Government—in
violation of the executive’s core function in Art. II. Gleeson advertised his bias to
obtain the appointment. John Gleeson, David O'Neil, and Marshall Miller, The Flynn
Case Isn’t Over Until the Judge Says it’s Over, WASH.POST (May 11, 2011),
https://www.washingtonpost.com/opinions/2020/05/11/flynn-case-isnt-over-until-

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This is a clear impermissible violation of the separation of powers. Article II, Section

3 of the Constitution vests the power to execute the laws solely in the Executive

Branch. Accordingly, the power to prosecute—to decide who, when, where, and how

someone is charged with a federal crime or when the case must be dismissed—rests

entirely with the Department of Justice. McCray, 195 U.S. 27; United States v. Nixon,

418 U.S. 683, 693 (1974); Fokker Servs., 818 F.3d at 737, 741.

      Rule 48(a) does not grant discretion to the courts to look behind the motives or

into the reasoning of the Executive in its exercise of its discretion. Fokker Servs., 818

F.3d at 738; In re United States, 345 F.3d at 453. Even if it did, the presumption of

regularity would apply, and in United States v. Armstrong, the Supreme Court

reiterated that only unconstitutional motives would suffice, and there must be “clear

evidence” to overcome the presumption of regularity. 517 U.S. 456, 464 (1996). In

oral argument before the D.C. Circuit Court of Appeals, the Deputy Solicitor General

noted that even under a less categorical reading of Fokker, “Armstrong is completely

clear… that you have to have clear evidence of an unconstitutional motive to rebut

the presumption, and they can argue back and forth about whether they think the

Attorney General is right about this or about that, but there's nothing here that

remotely approaches clear evidence of an unconstitutional motive. That's what you


judge-says-its-over/. He has accomplished that goal by willful blindness to the new
evidence, a baseless “wrap-up smear” of General Flynn in a filing made to fuel the
headlines and feed the piranha of the press, and distortions of clear legal precedent.




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need to rebut the presumption, even if it were relevant.” See In re United States, 345

F.3d at 453.

      In United States v. Ammidown, 497 F.2d 615, 620 (D.C. Cir. 1973), this Circuit

recognized that Rule 48(a) places the responsibility on the Executive Branch to

determine “the public interest.” Only the prosecutor is “in a position to evaluate the

government’s prosecution resources and the number of cases it is able to prosecute.”

Id. at 621. Every single appellate case on which Respondent and his troop rely

requires dismissal upon the Government’s Motion to Dismiss with no ado whatsoever

when the motion is substantial. As the Second Circuit wrote in reversing then-Judge

Gleeson for aggrandizing his own role in reviewing a deferred prosecution agreement,

to do otherwise “would be to turn the presumption of regularity on its head.” United

States v. HSBC Bank USA, N.A., 863 F.3d 125, 136 (2d Cir. 2017).

      HSBC Bank describes In Re Richards as requiring the Rule 48(a) dismissal

because the district court’s authority is “severely cabined” to “clearly contrary to the

public interest” meaning the prosecutor acted in bad faith such as bribery,

fecklessness, animus to victim, or self-interest.      Indeed, there must be clear

evidence—not contrary imaginings. HSBC Bank, 863 F.3d at 140, 141; See also

Armstrong, 517 U.S. at 465 (1996).

      The only appropriate and lawful action this court can take in response to the

Government’s Motion to Dismiss in this case is to grant it—as every court before it

has done. It cannot inquire behind it. The Seventh Circuit was so clear on this issue

it granted mandamus to compel the district court to grant the Government’s motion


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to dismiss and vacate the court’s order appointing a special counsel to prosecute the

case. In Re United States, 345 F.3d at 454. At most, this court’s review is limited to

the record before it. It can only review it for its stated reasons, and as long as the

dismissal is with prejudice, it must be granted. Rinaldi v. United States, 434 U.S. 22

(1984).

      This court’s role is “limited.” To the extent Ammidown has any precedential

force after Fokker Servs, it too limits the role of judges. First, Ammidown noted only

that the court has “a role” in the dismissal process; the judge is a participant, not a

ringmaster. 497 F.2d at 620. Second, the court would “require a statement of reasons

and underlying factual basis”—not a mere conclusory statement of public interest.

Id. Here, the Government provided a 20-page brief explaining its reasons, including

a thorough legal analysis and supported by 86 pages of new evidence, in addition to

all the Inspector General and General Flynn had obtained.

      “Third, the court does not have primary responsibility, but rather the role of

guarding against abuse of prosecutorial discretion.” Id. This is the no-ringmaster

rule redux: “The rule contemplates exposure of the reasons for dismissal ‘in order to

prevent abuse of the uncontrolled power of dismissal previously enjoyed by

prosecutors,’ and … ‘to gain the Court's favorable discretion, it should be satisfied

that the reasons advanced for the proposed dismissal are substantial.’” Id.

      The Government’s Motion here states substantial reasons. Some may disagree

with those reasons—and especially the result—but nothing in Ammidown suggests a

court may look behind the Motion to determine whether its reasons are correct, wise,


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or in the public interest.     “[E]xposure of the reasons for dismissal” ensures

transparency for the public record, but neither Ammidown—nor any other appellate

opinion—authorizes an inquisition behind the Government’s decision. Id.; United

States v. Cowan, 524 F.2d 504, 511-12 (5th Cir. 1975) (the court is “constitutionally

powerless to compel the government to proceed.”). This court has no authority to

review these decisions that rest solely within core Executive Branch functions. Any

suggestion that Ammidown authorizes such an intrusion into the Department of

Justice’s decision-making process—much less the inquiry proposed by Gleeson in his

job application for the most-biased-Amicus published in the Washington Post less

than 48 hours prior to his appointment—is ludicrous.5 See Wayte v. United States,

470 U.S. 598 (1985). Even In Re Richards, 213 F.3d 773 (3d Cir. 2000), which

remanded to allow a “hearing” to provide “sunlight” on the process, the court noted

that the “burden of proof [wa]s not on the prosecutor to prove that dismissal is in the

public interest,” but rather to provide reasons of more than a “mere conclusory

interest.” Id. at 788.

      IV.    This Court Must Grant Dismissal on the Existing Record.

      Given the substantial briefing and documentation by the Justice Department

of the reasons for dismissal here, based primarily on the Government’s proper

recognition that it should correct its own misconduct which included suppression of


  5 John Gleeson, David O'Neil, and Marshall Miller, The Flynn Case Isn’t Over Until
the Judge Says it’s Over, WASH. POST (May 11, 2020, 6:52PM),
https://tinyurl.com/4m7pc28; ECF No. 209 (Motion to establish briefing schedule).



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extraordinary exculpatory evidence, this court has no further role to play than to

grant dismissal forthwith. Smith, 55 F.3d at 159; United States v. Hamm, 659 F.2d

624, 631 (5th Cir. 1981).

       Significantly, the standard of Rinaldi v. United States, 434 U.S. 22 (1977),

that the prosecutor must assess the public interest, applies regardless of the stage of

the prosecution.    In Rinaldi, much like here, the prosecutor who obtained the

conviction had misrepresented the entire validity of the prosecution.              When

Department of Justice officials realized it had happened, they took steps to correct it

pursuant to Department policy. The Supreme Court reversed the Court of Appeals

failure to order dismissal of the wrongful charges, and it wrote that it would “not

presume” bad faith on the part of the government at the time it sought dismissal of

the indictment. Id. at 30-31; see also Hamm, 659 F.2d at 631. Those who might claim

that dismissal post-plea, or the government changing its position is somehow

suspicious have not researched the law. Just for a few examples:

   A. Appellate courts have issued mandamus or ordered dismissals post-
      sentencing in:

          •   Rinaldi, 434 U.S. at 30-31 (granting dismissal after trial and
              conviction).

          •   United States v. Weber, 721 F.2d 266, 268 (9th Cir. 1983) (“A substantial
              reasonable doubt of a defendant that arose after conviction is evidence
              of good faith.” . . . “the duty of the United States Attorney is ‘not simply
              to prosecute but to do justice.’” (citation omitted).

          •   United States v. Stevens, No. 08-231 (D.D.C Apr. 1, 2009) (Notably, this
              court ordered dismissal after a jury returned a verdict of guilty on
              multiple counts against former Alaska Senator Ted Stevens after the
              jury convicted him on multiple counts, for the same reasons the
              Department of Justice revealed here: suppression of exculpatory
              evidence. It did so on a two-page motion to dismiss at the request of
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              then-Attorney General Eric Holder. There is no meaningful distinction
              here—except the name of the Attorney General.).

   B. Appellate courts have issued mandamus or ordered dismissals under
      Rule 48(a) following guilty pleas in:

          •   United States v. Hamm, 659 F.2d 624 (5th Cir. 1981) (en banc).

          •   United States v. Smith, 55 F.3d 157 (4th Cir. 1995).

          •   In re United States, 345 F.2d 450 (7th Cir. 2003).

          •   United States v. Romero, 360 F.3d 1248 (10th Cir 2004) (reversing trial
              court’s denial of his motion to withdraw guilty plea and the
              Government’s to dismiss).6

   C. District courts have ordered dismissals post-sentencing in:

          •   United States v. Roberts, 904 F. Supp. 1262 (E.D.Okla. 1995).

          •   United States v. Smith, 675 F. Supp. 307 (E.D.N.C. 1987).

          •   United States v. Poindexter, 719 F. Supp. 6 (D.D.C. 1989).

          •   United States v. White, 597 F. Supp. 2d 1269 (M.D. Ala. 2009).

          •   United States v. Marra, 228 F. Supp. 2d 280 (W.D.N.Y. 2002).


   6  In the D.C. Circuit Court, this court as “Respondent” relied on United States v.
Carrigan, 778 F.2d 1454 (10th Cir. 1985) by cherry picking a single line within that
opinion’s rule section to argue that Rule 48(a) “permits courts faced with dismissal
motions to consider the public interest in the fair administration of criminal justice
and the need to preserve the integrity of the courts.” Id. at 1463. In context, that
was a simple repetition of the rule that carried little weight. Carrigan itself was a
Rule 11 dismissal, and the Rule 48(a) discussion was dicta. But, even more
importantly, this court’s Respondent brief failed to note that the 10th Circuit further
clarified Carrigan and its interpretation of Rule 48(a) in a subsequent case, United
States v. Romero, 360 F.3d 1248 (10th Cir. 2004). In Romero, the Tenth Circuit
distinguished Carrigan as an unusual case governed by Rule 11 before reversing a
lower court’s denial of the government’s motion to dismiss charges based upon Rule
48(a), because “Filing such a motion is a legitimate choice that should be left to the
discretion of the government.” Id. at 1253.




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  •   United States v. Borges, 153 F. Supp. 3d 216 (D.D.C. 2015) (“integrity of
      the Government's case has been tainted by the wrongdoing and
      misconduct of an agent”) Id. at 220.

  •   United States v. Becker, 221 F. Supp. 950 (W.D. Mo. 1963).

  •   United States v. Norita, 708 F. Supp. 2d 1043 (D.N. Mar. Is. 2010).

  •   United States v. Pitts, 331 F.R.D. 199 (D.D.C. 2019).

  •   Government of the V.I. ex rel. Robinson v. Schneider, 893 F. Supp 490
      (D.V.I. 1995).

  •   United States v. Hastings, 447 F. Supp. 534 (E.D. Ark. 1977).

  •   United States v. James, 861 F. Supp. 151 (D.D.C. 1994).

  •   United States v. Rosenberg, 108 F. Supp. 2d 191 (S.D.N.Y. 2000).

  •   United States v. Greater Blouse, etc., Contractors Asso., 228 F. Supp 483
      (S.D.N.Y. 1964).

  •   United States v. Shanahan, 168 F. Supp 225 (S.D. Ind. 1958).

  •   United States v. Friedman, 107 FRD 736 (N.D. Ohio 1985) (citing Brady
      violations in withholding information from the defendant.) Id. at 739.

  •   United States v. Manetti, 323 F. Supp. 683 (D. Del. 1971).

  •   United States v. Foye, 36 F. Supp.2d 329 (S.D.W. Va. 1998).

  •   United States v. Grace, 429 F. Supp. 2d 1207 (D. Mont. 2006).

  •   United States v. Lawson, 502 F. Supp. 158 (D. Md. 1980) (dismissing the
      case without prejudice due to government misconduct.) Id. at 173.

  •   United States v. Henderson, 951 F. Supp. 2d 228 ( D. Mass. 2013).

  •   United States v. Sullivan, 652 F. Supp. 2d 136 (D. Mass. 2009).

  •   United States v. Sayes, 49 F. Supp. 2d 870 (M.D.La. 1999).

  •   United States v. Johnson, 20 F. Supp. 3d 144 (D.D.C. 2013).

  •   United States v. Cammisano, 433 F. Supp. 964 (W.D.Mo. 1977) (“The
      files and records in this case establish that the government has not given
      appropriate recognition to its duty to produce evidence favorable to an

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              accused upon request in regard to evidence which we have found to be
              relevant and material to the alleged defense of selective and
              discriminatory prosecution, as defined and required by Brady v.
              Maryland and its progeny.”) Id. at 982.

          •   United States v. Manbeck, 514 F. Supp. 152 (D.S.C. 1981).


   D. District courts have granted Rule 48(a) motions despite guilty pleas in
      multiple similar cases for similar reasons.

          •   United States v. Duncan, No. 02-209 (S.D. Tex. Dec. 13, 2005) (Order
              Granting Unopposed Motion to Withdraw the Defendant’s Guilty Plea
              and to Dismiss the Information—vacating plea of Arthur Andersen
              executive convinced by prosecutors his innocent conduct was criminal).

          •   United States v. Calger, No. CR-00286-001 (S.D. Tex. Dec. 20, 2016)
              (vacating plea of Enron Broadband executive likewise bludgeoned into a
              guilty plea for conduct that was not criminal).

          •   United States v. Spiller, No. 09-335 (D.D.C. March 30, 2012).

          •   United States v. Geri, No. 09-335 (D.D.C. March 30, 2012).

          •   United States v. Alvirez, No. 09-335 (D.D.C. March 30, 2012).7

          •   United States v. Fastow, 300 F. Supp. 2d 479 (S. D. Tex. 2004).

       In short, no authority exists from any court that would allow the court to deny

dismissal here. It should have been done upon review of the Government’s motion,

exhibits, and General Flynn’s consent. No appellate court has ever affirmed the

denial of a Rule 48(a) motion to dismiss, and there is not a shred of basis to do so

here. For this court to require additional briefing or any subsequent proceeding is

clear error on this record. All it has accomplished is degradation of the court itself,


   7  These last three cases were dismissed on a two-page motion of the Government.
Ex. 3.




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needless and counterproductive delay, waste of scarce government resources, and

dramatic increase of costs to the defendant.

      V.     Any Suggestion of “Perjury” Is Spurious.

      Moving to withdraw a guilty plea and asserting actual innocence on advice of

non-conflicted counsel does not constitute contempt or perjury.8 Allegations of such

are baseless and spurious, and just as this court did with its suggestion of “treason,”

and “sold your country out,” it fueled the media and public outrage against General

Flynn when it suggested “contempt for perjury.” Hr’g Tr., United States v. Flynn, No.


  8   There are flagrant Rule 11 violations in General Flynn’s plea proceedings. The
first judge who accepted General Flynn’s plea was disqualified by a conflict of
interest—the details of which have never been disclosed to General Flynn. He should
not have taken the plea. The Special Counsel knew this and did nothing about
it. That judge’s conflict of interest—revealed a mere seven days after accepting the
plea required his immediate recusal. Obviously, it existed at the time he accepted
the plea. Further, General Flynn was blind-sided by this court’s “extended plea
colloquy” at what was to be his sentencing. The Rule 11 plea colloquy conducted by
this court did not meet the core requirements of Rule 11 and was defective. When
this Court extended the colloquy in December 2018, among the questions this Court
did not ask was if any additional promises or threats were made to General
Flynn. The answer—we now know—is a resounding “yes.” Even more egregious,
Judge Sullivan accepted General Flynn’s plea while General Flynn was standing with
counsel who had a non-consentable conflict of interest during his representation and
especially surrounding the plea, and there were significant Brady issues—contrary
to counsel’s representation. See ECF Nos. 151, 153, 106-2.

       Section 401(1) requires a showing of “contumacious intent,” In re Brown, 454
F.2d 999, 1007-08 (D.C. Cir. 1971). This Circuit holds that the requisite intent for
contempt is the intent “to obstruct the administration of justice,” In re Sealed Case,
627 F.3d 1235, 1236 (D.C. Cir. 2010). As the Government previously argued, “‘[t]he
foundation for the criminal contempt power is the need to protect the judicial process
from willful impositions.’ Brown, 454 F.2d at 1006. Accordingly, this Court has
recognized that ‘a degree of intentional wrongdoing is an ingredient of the offense of
criminal contempt.’ Id.” In re Michael T. Flynn, Case no. 20-4143, Government’s
Brief for Writ Petition at 34.


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17-232, (D.D.C Dec. 18, 2018) at 36:1-3, 9-10; 33:13-14. In addition to the authorities

above, twenty percent—more than 500—of former criminal defendants named in the

National Registry of Exonerations had pleaded guilty.9 Are they now to be punished

in some way for perjury?

        From the Reports of the Inspector General, evidence that has recently been

declassified, and the stunning disclosures of Brady material from the independent

review by U.S. Attorney Jensen, it is apparent that crucial facts were withheld from

General Flynn in violation of Brady, and wrongful pressure was applied to coerce his

plea of guilty.10 ECF No. 198. Further, General Flynn had a legal right to withdraw

his plea under Rule 11(d), Fed. R. Crim. P., and this court cannot penalize him for

exercising his rights upon advice of non-conflicted counsel.       This court has no

authority to make any use of its wrongful allegations of such, and by making such

suggestions publicly, has further smeared General Flynn.

        The Government’s Motion to Dismiss explains the materiality issue and others

underlying the plea. Until the Government moved to dismiss, this court had “many,

many, many questions” about the factual basis for the plea. It did not conduct a full

colloquy on December 18, 2018, as General Flynn briefed fully at ECF Nos. 151, 153,


   9 National Registry of Exonerations, https://tinyurl.com/moalhx8 (last visited June
6, 2020).

   10 The evidence long suppressed indicated that General Flynn was singled out for
special adverse treatment by the highest levels of the FBI, investigated and
interviewed with no basis whatsoever, and “evidence” against him was falsified. ECF
Nos. 162, 170, 188, 198; Ex. 1.



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154, and 160-2. Any “finding” it supposedly made on “materiality,” was made in

ignorance of all the facts, and the remarkable new evidence long suppressed renders

his statements immaterial as a matter of law.11 Any alleged “false statements” made

while attempting to accept responsibility for the “crime” as explained to him was the

result of information withheld from him and advice of counsel who at the time were

laboring under a non-consentable conflict of interest. ECF No. 160-2.

         Rule 11(d) expressly gives a defendant a right to move to withdraw a plea. As

such, withdrawing a plea cannot be contemptuous conduct as a matter of law. If it

were, then there are at least 500 people in the National Registry of Exonerations who

would be guilty of perjury.12 This is an issue that transcends demographics. This

court’s suggestion that perjury through contempt could lie for someone seeking to

withdraw a guilty plea upon exoneration would have a shocking chilling effect on the

rightful future exoneration of wrongly accused defendants who are being punished

for crimes they did not commit.


11  The law-of-the-case doctrine constrains re-litigation of decided issues “but it does
not limit courts’ power.” Musacchio v. United States, 136 S. Ct. 709, 711 (2016)
(internal citations omitted). It “applies only to issues upon which decisions were
actually rendered.” United States v. Miller, 890 F.3d 317, 326 (D.C. Cir. 2018).

   Additionally, no party is seeking preclusion through the law-of-the-case doctrine,
and no one else has standing to assert it. The Government provided new evidence in
its Motion to Dismiss, and General Flynn alone would have standing to oppose it on
law-of-the-case grounds. He declines to do so.

12   See supra n.10.




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      Finally, General Flynn’s statements to the court relating to his plea do not

constitute contempt because – as the Government so eloquently wrote – “[a]n intent

to acquiesce in the prosecution’s charges, even falsely, is not an intent to interfere

with judicial proceedings themselves for purposes of contempt under Section

401(1).” In re Michael T. Flynn, Case no. 20-5143, Government’s Brief for Writ

Petition at 35. Established Supreme Court precedent holds that “perjury alone does

not constitute an ‘obstruction’ which justifies exertion of the contempt power.” In re

Michael, 326 U.S. 224, 228 (1945); Ex parte Hudgings, 249 U.S. 378, 383 (1919).

      The only bad faith in this case occurred when it was investigated and

brought—largely attributable to the “entirety of the lame duck usic with partisan

axes to grind.” Regrettably, our “justice” system has become a conviction machine so

powerful that innocent people are regularly compelled to “confess” guilt they do not

have and plead to crimes they did not commit.        “[T]he prosecutor-dictated plea

bargain system, by creating such inordinate pressures to enter into plea bargains,

appears to have led a significant number of defendants to plead guilty to crimes they

never actually committed.” Jed S. Rakoff, Why Innocent People Plead Guilty, The

New York Review of Books (Nov. 20, 2014).

      VI.    Extraordinary Exculpatory Evidence Exposed Through the IG
             Reports, Declassification, and the Jensen Review Mandate
             Dismissal with Prejudice.

      The prior prosecution team misled this court. Since appearance of new

counsel, throughout the last year, and in opposing General Flynn’s Brady motion,

former Special AUSA Van Grack represented that prosecutors previously produced


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all evidence favorable to General Flynn and material to guilt or innocence, See ECF

No. 122.      He repeatedly claimed the government was “not in possession”

of Brady evidence it was refusing to produce. ECF Nos. 122, 132. The court relied

upon those misrepresentations and denied the Brady motion. ECF No. 144. We

know the prosecutor lied and the court’s findings were wrong. See ECF No.

198. Indeed, it has come to light that the FBI, through Van Grack, withheld the most

damning evidence until it was produced after the Jensen investigation, including a

note from former FBI Deputy Director for Counterintelligence Bill Priestrap

indicating his concern that some in the FBI sought to interview Flynn so as to “get

him to lie, so we can prosecute him or get him fired.” ECF No. 198, Ex. 10. Indeed,

directly contrary to this court’s December 2019 finding, the Government now admits

[and the new evidence shows] that the interview of General Flynn was untethered to,

and unjustified by, the FBI’s counterintelligence investigation of General

Flynn. ECF No. 198. Moreover, the Attorney General of the United States himself

explained publicly that the investigators “initially tried some theories of how they

could open another investigation, which didn’t fly. And then they found out that they

had not technically closed the earlier investigation. And they kept it open for the

express purpose of trying to catch, lay a perjury trap for General Flynn.” Catherine

Herridge, Attorney General William Barr on Michael Flynn, Obamacare and

coronavirus    restrictions—Transcript,    CBS    (May    12,   2020,   1:37    PM),

https://www.cbsnews.com/news/attorney-general-william-barr-on-michael-flynn-

obamacare-and-coronavirus-restrictions-transcript/. The transcripts now make plain


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the Agents knew exactly what General Flynn had said, there was no “collusion,” he

was solely representing the best interests of the United States, and they had no

legitimate reason to question him about anything. Yet, they planned and schemed to

do so, to keep him “unguarded” and “relaxed,” and to see them “as allies” all the while

the “usic” intended to stab him in the back with any misstatement—or, as it turned

out—completely fabricated “false statements.” The only lawful result is dismissal.

      This case is anything but a mere reversal of course. It is the result of evidence

uncovered in at least three independent investigations—the first being by the

Obama-appointed Inspector General Michael Horowitz who uncovered the blatantly

biased text messages (and the affair) between Lisa Page, Special Counsel to Andrew

McCabe, and FBI Counterintelligence Agent Peter Strzok. Other investigations into

the actual facts of this prosecution have been and are being conducted by U.S.

Attorney Jeff Jensen and U.S. Attorney John Durham.

      The extraordinary exculpatory evidence has come to light over the last

eighteen months, all of which establishes violations of government protocols, policies,

and sometimes laws by the Government’s agents themselves.              Ex. 1 includes

devastating text messages the defense recently found that were never produced to it

by the Government. These are perhaps the most damning messages of the purely

political motivation for the investigation and prosecution of General Flynn and evince

another egregious Brady violation.

      Strzok and Page discuss in their own private messaging their recognition that

the “entirety of the lame duck usic” [U.S. Intelligence Community] has “partisan axes


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to grind.” Strzok relayed Bill Priestap’s discomfort “with the outcome of mye [Clinton

email investigation] and a concern “with over sharing.” In particular, Strzok said

Priestap didn’t “want Clapper giving [Flynn transcripts of calls with Kislyak] to

[Obama] WH, because it was “all political, just shows our hand and potentially makes

enemies.” Ex. 1. It is all of this new evidence that compelled the Government to move

to dismiss with prejudice. These striking documents cannot be ignored. See ECF

Nos. 198; 232-2 at 34.

      The Government’s Motion states: “After a considered review of all the facts and

circumstances    of   this   case,   including   newly   discovered   and   disclosed

information…the Government has concluded that the interview of General Flynn was

untethered to, and unjustified by, the FBI’s counterintelligence investigation…[the]

continued prosecution of the charged crime does not serve substantial federal

interest.” ECF No. 198 at 2.

      Since this court wrote ninety-two pages to deny each of General Flynn’s

requests for exculpatory evidence—including relevant Strzok-Page texts we had not

received—significant productions of new evidence show the Government had no




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legitimate basis to investigate General Flynn, to interview General Flynn, and much

less to prosecute General Flynn.13 In the interest of brevity, we summarize below.14


  13    In its ninety-two-page decision denying General Flynn all exculpatory Brady
material he requested, the court distinguished this case from United States v.
Stevens, Criminal Action No. 08-231 (EGS) (D.D.C Apr. 1, 2009), because in Stevens,
the government moved to dismiss the case upon admitting misconduct in the
suppression of Brady evidence. ECF No. 144 at 91. That distinction is eviscerated
with the Government’s Motion to Dismiss here. Moreover, in Stevens, the government
filed a mere two-page motion to dismiss. Ex. 4. Here, the Government has moved to
dismiss in a hundred-page submission that includes 86 pages of new documentation
that completely destroys the premise for any criminal charges. This evidence was
long sought by General Flynn but withheld by the prior prosecution team and its
investigators and wrongly denied to him by this court.

   14  Furthermore, any allegations regarding Turkey have no place in these
proceedings and are entirely meaningless. This is uncharged conduct which is within
the prerogative of the Article II Executive alone. There was no conspiracy with
Turkey, nor were there false statements made pertaining to Turkey. See Judge
Trenga’s Memorandum Opinion, United States v. Rafiekian, Case No. 1:18-cr-00457,
ECF No. 372 at 11 “Neither the original nor superseding indictment in this case
references Flynn as a member of the alleged conspiracy or as an agent of the Turkish
government; and in response to the court’s explicit questioning, the Government
stated in open court that Flynn, who it planned to call as a witness, was not a member
of the charged conspiracy and that it would not rely upon his testimony to establish
the foundation for the admission of Alptekin’s hearsay statements under Fed. R. Evid.
801(d)(2)(E)).” See also Rafiekian, ECF No. 213, June 13, 2019 Hearing Tr. 65:9-
22. (“...we do not contend that General Flynn was part of that conspiracy.”).
       Further, General Flynn did not knowingly make false statements. In fact,
General Flynn’s counsel has thoroughly previously briefed this court on the redline
edits made to the “statement of offense,” negotiated with Mr. Van Grack on November
30, 2017, which specifically remove the language “as he then and there knew”
regarding the allegedly “false” FARA statements. See ECF No. 151. Moreover,
in evidence still withheld are General Flynn’s briefings to the DIA on all foreign
contacts. In addition, it is only the Government’s alleged false statements that were
false. Flynn Intel Group did nothing in secret. Former CIA Director James Woolsey
and former FBI executive Brian McCauley were at the only meeting that involved a
“Turkish official.” General Flynn fully briefed DIA on that meeting, and on advice of
counsel, Flynn Intel Group had timely filed a Lobbying Disclosure Act form. Multiple
lawyers and firms deemed no FARA registration was required at all. ECF Nos. 160,
Ex. 6, Ex. 17; 162, Ex. 3.


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Per the Report of the Inspector General15:

          •   On December 15, 2019, the Government produced 637 pages of long-
              promised FD-302s and handwritten notes of the FBI Agents. These
              included 113 pages of 16 FD-302s; 206 pages of FBI handwritten notes.

          •   The timeline is now clear as follows:

                 o August 15, 2016: Strzok and Page text about the “insurance
                   policy” they discussed in McCabe’s office.

                 o August 16, 2016: FBI opens the case against Flynn. IG Report at
                   2.

                 o August 17, 2016: The first interview of General Flynn was
                   conducted surreptitiously by slipping Agent Pientka into a
                   presidential briefing to nominee Trump and General Flynn. IG
                   Report at 340-341. This was unprecedented and a clear policy
                   was added to prevent its reoccurrence.

          •   Agent Pientka’s stated purpose of this interview was “to provide the
              recipients ‘a baseline on the presence and threat posed by foreign
              intelligence services to the National Security of the U.S.” IG Report at
              xviii. In actuality, the Trump campaign was never given any defensive
              briefing about the alleged national security threats. IG Report at 55.

          •   “the FBI viewed that briefing as a possible opportunity to collect
              information potentially relevant to the Crossfire Hurricane and Flynn
              investigations.” IG Report at 340.

          •   “One of the reasons for [Pientka’s] selection was that ODNI had
              informed the FBI” that Flynn would be one of the three in attendance
              on behalf of the Trump campaign. IG Report at 341.

          •   Pientka told the IG: “[T]he briefing provided him ‘the opportunity to gain
              assessment and possibly have some level of familiarity with [Flynn]. So,
              should we get to the point where we need to do a subject interview...I
              would have that to fall back on.’” IG Report at 341.

          •   Agent Pientka said that his “assessment” meant: “[Flynn’s] ‘overall
              mannerisms. That overall mannerisms and then also if there was
              anything specific to Russia, or anything specific to our investigation,

   15Office of the Inspector General, U.S. Dept. of Justice, Review of Four FISA
Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation,
(December 2019, revised) (hereinafter “IG Report.”)
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      that was mentioned by him, or quite frankly we had an . . . investigation,
      right. And any of the other two individuals in the room, if they, any kind
      of admission, or overhear, whatever it was there to record that.’” IG
      Report at 341.

  •   Agent Pientka was the Supervisor of Crossfire Hurricane. IG Report at
      305.

  •   Agent Pientka helped pick the team of investigators for General Flynn.
      IG Report at 65.

  •   The agents interviewing General Flynn reported to Agent Pientka, and
      then Agent Pientka reported operational activities to Strzok. IG Report
      at 65.

  •   Bruce Ohr provided information collected by Christopher Steele,
      through his contract with Fusion GPS, to the FBI “out of the blue.” IG
      Report at 99. Agent Pientka reviewed this information. IG Report at
      100.

  •   Agent Pientka was responsible for making sure the FISA applications
      were verified by providing a “factual accuracy review,” IG Report at 151,
      yet he included false and incomplete information for the court, and he
      failed to inform the court of significant exculpatory information.

  •   Agent Pientka even “speculated” that Steele’s information was
      corroborated—when it was not—and he was responsible for numerous
      “inaccuracies,” “omissions,” and “unsupported statements” in the FISA
      applications. See generally IG Report at Chs. 5, 9.

  •   One of the FBI lawyers falsified a document in support of one of the
      FISA applications. IG Report at 160.

  •   Agent Pientka supervised Case Agent 1 (IG Report at 81) and withheld
      exculpatory information from the court that was material to
      determining warrants. IG Report at 232- 233.

  •   Unverified information from Source 2 (Halper) was used to obtain FISA
      warrants to wiretap Carter Page, and thus reach General Flynn. IG
      Report at 313-33. Halper was closed by the FBI in 2011 but reopened
      by Case Agent 1. Case Agent 1 reported to Agent Pientka during
      Crossfire Hurricane.

  •   “Agent Pientka told the OIG that he did not know about Source 2, or
      know that Case Agent 1 was Source 2’s handler, prior to Case Agent 1


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               proposing the meeting [on August 11, 2016], which Agent Pientka
               approved.” IG Report at 313.

         •     There was “no supporting documentation” to support that “Source 2 has
               routinely provided reliable information that has been corroborated by
               the FBI.” IG Report at 418.

         •     Despite the lack of information, this was relied upon in the first FISA
               application, and the Steele dossier which included two references to
               General Flynn.

         •     “...during the presidential election campaign, the FBI was invited by
               ODNI to provide a baseline counterintelligence and security briefing
               (security briefing) as part of ODNI’s strategic intelligence briefing given
               to members of both the Trump campaign and the Clinton campaign...
               We also learned that, because Flynn was expected to attend the first
               such briefing for members of the Trump campaign on August 17, 2016,
               the FBI viewed that briefing as a possible opportunity to collect
               information potentially relevant to the Crossfire Hurricane and Flynn
               investigations. We found no evidence that the FBI consulted with the
               Department leadership or ODNI officials about this plan.” IG Report at
               340.

         •     Strzok was primarily responsible for preparing Agent Pientka and
               “providing him with instruction on how to handle the FBI’s portion of
               the ODNI strategic intelligence briefings, but others also assisted,
               including the Intel Section Chief and possibly Lisa Page.” Id. at 342.
               “[H]e and Strzok created the briefing outline together, and he prepared
               himself through mock briefings attended by Strzok, Lisa Page, the Intel
               Section Chief, and possibly the OGC Unit Chief.” IG Report at 340.

         •     Inspector General found “members of the Crossfire Hurricane team
               repeatedly failed to provide OI [Office of Intelligence] with all relevant
               information.” IG Report at 362.

In addition:

         •     Mr. Van Grack made baseless threats to indict Michael G. Flynn as a
               material term of the plea agreement and required that this be kept
               between himself and the Covington attorneys to avoid the Giglio
               requirement. ECF No. 181, Exs. 1 & 2.

         •     FBI and DOJ leaders intended either to create an offense they could
               prosecute or at least get General Flynn fired. ECF No. 198, Ex. 10. This


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      is conveyed in handwritten notes of FBI executive Bill Priestap—
      produced in Mr. Jensen’s review, and emails.

  •   “We have a case on Flynn and Russians. Our goal is to resolve the case
      and to determine if Mike Flynn is going to tell the truth about his
      relationship with Russians.” At this time, the FBI knew it had no case
      on Flynn and Russians. ECF No. 198, Ex. 10.

  •   “What is our goal? Truth/Admission or to get him to lie, so we can
      prosecute him or get him fired?” ECF No. 198, Ex. 10.

  •   “If we get him to admit to breaking the Logan Act, give facts to DOJ and
      have them decide.” ECF No. 198, Ex. 10.

  •   Note-writer Bill Priestap rethought their decision from the day before to
      refrain from showing Flynn the transcripts of the calls. He urges
      McCabe to rethink it.          Nonetheless, the agents deviate from
      acknowledged standard procedure and do not show Flynn the actual
      transcripts to refresh his recollection.

  •   “Or, if he initially lies, then we present him [REDACT] and he admits
      it, document for DOJ and let them decide how to address it.” ECF No.
      198, Ex. 10.

  •   “If we are seen as playing games, WH will be furious… protect our
      institution by not playing games.” ECF No. 198, Ex. 10.

  •   On April 29, 2020, the Government produced a production with more
      Page-Strzok texts. These texts were later produced as Exhibit 7 in the
      Government’s Motion to Dismiss. ECF No. 198, Ex. 7. These reflect
      that Agent Strzok rewrote the 302 so much he struggled to keep the
      “voice” of the original author. Moreover, Ms. Page—“Special Counsel”
      to Deputy Director McCabe had a far greater hand in revising the 302
      than previously represented. She was not present for the interview and
      should have played no role in it. Ex. 2.

  •   “Lisa, you didn’t see it before my edits that went into what I sent you. I
      was 1) trying to completely re-write the thing so as to save [Pientka’s]
      voice and 2) get it out to you for general review and comment in
      anticipation of needing it soon. I greatly appreciate your time in
      reviewing and your edits. I incorporated them. Thank you.” Ex. 2.

  •   “Should say 1) trying to not completely re-write…” Ex. 2.

  •   After four months of investigation into General Flynn, the FBI
      “determined that CROSSFIRE RAZOR [General. Flynn] was no longer

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      a viable candidate as part of the larger Crossfire Hurricane umbrella
      case” and prepared to close their investigation. ECF No. 198, Ex. 1 at 3.

  •   The FBI was already monitoring Flynn’s calls. It almost immediately
      knew of his contact with Ambassador Kislyak. ECF No. 198, Ex. 5
      (Comey Testimony).       Comey/McCabe ordered the investigation
      continued despite having transcripts of those calls that continued to be
      exculpatory. Id.

  •    When Strzok learned that the investigation into General Flynn had not
      been formally closed, he relayed the “serendipitously good” news to Lisa
      Page and Strzok ordered the FBI to keep the investigation open per
      instructions from the 7th floor. ECF No. 198, Ex. 7 at 1-2.

  •   Mary McCord FD-302, Sally Yates FD-302 and March 2, 2017, James
      Comey Interview transcript produced for the first time. ECF No. 198,
      Exs. 3, 4, & 5.

  •   Mr. Comey says it is “possible” but “struck me as a bit out of reach,
      though, honestly” when asked whether he agreed with Ms. Yates that
      General Flynn was blackmailable because of his communications with
      the Russian Ambassador. ECF No. 198, Ex. 5 at 14.

  •   As FBI agents creatively brainstormed ways to charge Flynn under the
      impotent and unconstitutional Logan Act, Lisa Page reaches out to Peter
      Strzok and other FBI personnel asking… ECF No. 198, Ex. 9 at 6.

         o Page: “Could the admonition re 1001 be given at the beginning at
           the interview? Or does it have to come following a statement
           which agents believe to be false? It seems to be if the former, then
           it would be an easy way to just casually slip that in. ‘Of course as
           you know sir, federal law makes it a crime to…’” ECF No. 198,
           Ex. 9 at 7.

            FBI reply: “....If I remember correctly, you can say it at any time.”
            ECF No. 198, Ex. 9 at 6.

         o However, the agents deliberately chose not even to mention
           Section 1001—much less actually warn him. In fact, according to
           Comey himself, they just sent the agents to the White House
           without telling him anything. ECF No. ECF No. 133 at n.7. This
           is in addition to deliberately violating protocol to avoid White
           House Counsel and DOJ.




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        Amicus elides the reality of the egregious government misconduct of the FBI

Agents—particularly that of Comey, McCabe, Strzok, Page, Pientka, Priestap and

others who met repeatedly to pursue the targeted “take-out” of General Flynn for

their political reasons and those of the “entirety lame duck usic.” Much of this has

been revealed in the December 19, 2019, IG Report, the 86 pages of newly produced

exonerating material produced by U.S. Attorney Jensen, filed in the Government’s

Motion to Dismiss (ECF No. 198), and hundreds of the texts between Strzok and Page

demonstrating abject bias. See ECF No. 133 at 11 and Exs. 1, 2.

        Amicus is lost down the rabbit hole on the other side of the looking glass—

where “nothing would be what it is, because everything would be what it isn't. And

contrary wise, what is, it wouldn't be. And what it wouldn't be, it would.”16 Restoring

and applying the Rule of Law requires accepting the reality that this court lacks

authority or reason to take any action other than to dismiss this prosecution.

                                  CONCLUSION

        A federal judge once wrote:

              [A] prosecutor can do justice by the simple act of going back
              into court and agreeing that justice should be done. * * *

              It is easy to be a tough prosecutor. Prosecutors are almost
              never criticized for being aggressive, or for fighting hard to
              obtain the maximum sentence, or for saying "there's
              nothing we can do" about an excessive sentence after all
              avenues of judicial relief have been exhausted. Doing
              justice can be much harder. It takes time and involves
              work, including careful consideration of the circumstances

   16 Lewis Carroll, Alice’s Adventures in Wonderland & Through the Looking-Glass
(1871).


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             of particular crimes, defendants, and victims—and often
             the relevant events occurred in the distant past. It requires
             a willingness to make hard decisions, including some that
             will be criticized.

             This case is a perfect example.    *     *      *

             By contrast, the decision []he has made required
             considerable work. Assistant United States Attorney . . .
             had to retrieve and examine a[n] . . . old case file. . . . He
             requested and obtained an adjournment so his office could
             have the time necessary to make an extremely important
             decision. United States Attorneys' offices work with limited
             resources. The effort that went into deciding whether to
             agree to vacate [two counts against defendant] could have
             been devoted to other cases. *    *      *

             This is a significant case, and not just for [the defendant].
             It demonstrates the difference between a Department of
             Prosecutions and a Department of Justice. It shows how
             the Department of Justice, as the government's
             representative in every federal criminal case, has the
             power to walk into courtrooms and ask judges to remedy
             injustices.17

      For these reasons and those stated in our other briefs, the only

lawful action this court can take is to dismiss the case with prejudice on

the Government’s motion and vacate the plea. There never should have

been so much as an investigation—much less an assassination by

political prosecution of General Flynn—a distinguished patriot of thirty-

three years of exemplary service in total devotion to this country.




17 United States v. Holloway, 68 F. Supp. 3d 310, 311, 316 (E.D. NY 2014) (Judge
John Gleeson applauding U.S. Attorney Loretta Lynch for moving to vacate two
counts of three counts against a defendant who had stolen three cars at gunpoint and
received an extreme sentence).


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Dated: June 17, 2020               Respectfully submitted,

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* Admitted Pro Hac Vice
**Pro Hac Vice Application
Forthcoming




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                       CERTIFICATE OF SERVICE

      I hereby certify that on June 17, 2020 I electronically filed the foregoing brief

with the Clerk of Court by using the CM/ECF system. I further certify that the

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.



                                              Respectfully submitted,

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                                Exhibit List


Exhibit 1        Page and Strzok Text Messages Never Produced to the Defense.


Exhibit 2        New Page and Strzok Text Messages Produced in the
                 Government’s Motion to Dismiss, ECF No. 198, Ex. 7.


Exhibit 3        The Government’s Two-Page Motion to Dismiss the Prosecution
                 of the African Sting Trial Defendants Who Pleaded Guilty and
                 Subsequent Court Orders.


Exhibit 4        The Government’s Two-Page Motion to Dismiss the Prosecution
                 of Ted Stevens.
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                           Case
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                                                                                        2 of
                                                                                   Page10 of 3
                                                                                             4
                                                                                             12



      ...                  .....                                               ,,_......_
     4-Jan-17   2:11 PM     Strzok              Hey if you havent closed     don't do it yet
     4-Jan-17   2:12 PM     Strzok              Sorry, RAZOR
     4-Jan-17   2:14 PM                         Hey if you havent closed RAZOR, don't do so yet
     4-Jan-17   2:15 PM                         Okay
     4-Jan-17   2:15 PM
     4-Jan-17   2:15 PM
     4-Jan-17   2:15 PM

                                                Still open and I'm still listed as the Case Manager (had to double check)
     4-Jan-17   2:17 PM
     4-Jan-17   2:18 PM                           r. I couldn't raise    earlier. Pis keep it open for now
     4-Jan-17   2:17 PM
                                                Razor still open. :@> but serendipitously good, I guess. You want those
     4-Jan-17   2:19 PM     Strzok     Page
     4-Jan-17   2:19 PM      Page     Strzok     hew.
     4-Jan-17   2:20 PM      Page     Strzok    But yeah, that's amazing that he is still open. Good, I guess.
                                                Yeah, our utter incompetence actually helps us. 20% of the time, I'm
     4-Jan-17   2:20 PM     Strzok     Page     guessing:)
     4-Jan-17   2:21 PM               Strzok

                                                Just need to relay to him not to close RAZOR yet. I talked with
     4-Jan-17   2:21 PM
     4-Jan-17   2:22 PM                         Oh,OK
     4-Jan-17   2:22 PM               Strzok    What's up?
                                                Need to decide what to do with him w/r/t the
     4-Jan-17   2:22 PM     Strzok
     4-Jan-17   2:22 PM     Strzok

                                                                                            Did DD send that material over?
     4-Jan-17   2:23 PM               Strzok
                                                              has been handling RAZOR's closure - do you want me to reach
     4-Jan-17   2:23 PM               Strzok    out to him?


SUBJECT TO PROTECTIVE ORDER                                                                                       DOJSCO • 700023473
                            Case
                           Case  1:17-cr-00232-EGS
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                                                                                    Page11 of 3
                                                                                              4
                                                                                              12


     4-Jan-17    2:24 PM                         Yes
     4-Jan-17    2:24 PM                         Will do
     4-Jan-17    2:24 PM                         Hey don't close RAZOR
     4-Jan-17    2:24 PM                         actually, just got him on Lyne
     4-Jan-17    2:24 PM                         Has he been doing the bulk of the work on him?>
     4-Jan-17    2:25 PM                         He's been doin some of the stuff more recently

                                                 Actually, his green bubble just turned yellow, pis do try and reach him
     4-Jan-17    2:25 PM
     4-Jan-17    2:25 PM                         Will do
     4-Jan-17    2:27 PM                         ok
     4-Jan-17    2:28 PM                         should I be concerned?
     4-Jan-17    2:28 PM                         Possibly. Will know more in a bit
     4-Jan-17    2:29 PM                         1'11 lync you in 10-15
     4-Jan-17    2:29 PM                         ok

     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM

     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM
     4-Jan-17    4:00 PM
     4-Jan-17    4:08 PM



                                                 We'll see, about Bill. He was pretty adamant about what Andy it said with
                                                 regard to that. And he mentioned on Saturday that he had several
     23-Jan-17   6:37 AM     Strzok     Page     conversations
                                                 with Andy. Bill sense with it and he wanted to know why we had to go
                                                 aggressively doing these things, openly. I worry Bill isn 't getting the
     23-Jan-17   6:37 AM     Strzok     Page     underlying d
     23-Jan-17   6:37 AM     Strzok     Page     istinction that I think is clear. But maybe I'm wrong.



SUBJECT TO PROTECTIVE ORDER                                                                                          DOJSCO • 700023474
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                                                                                     Page12 of 3
                                                                                               4
                                                                                               12



                                                  Hi - sorry I missed you yesterday. About to email you questions for Andy to
                                                  think about in advance of his call with Flynn. I'm sure he's thought of
                                                  them already, but just in case
     24-Jan-17   6:46AM       Strzok


     24-Jan-17   9:27 AM      Strzok     Page     @@@@ Bill just told          and me that he brought up - again, th
     24-Jan-17   9:27 AM      Strzok     Page     is time in front of D             . Didn 't know he was going to d
     24-Jan-17   9:27 AM      Strzok     Page     o that.
     24-Jan-17   9:29 AM       Page     Strzok    Yeah, dd is frustrated. Going into mtg.
     24-Jan-17   9:29 AM       Page     Strzok    Don 't repeat
                                                  I won 't. Bill said D started going one way and DD cut him off. I'd be
     24-Jan-17   9:30AM       Strzok     Page     frustrated too

                                                  This document pisses me off.? You didn't even attempt to make this
     10-Feb-17   5:37 PM       Page     Strzok    cogent and readable.? This is lazv work on your part.
                                                  Lisa, you didnt see it before my edits that went into what I sent you. I was
                                                  1) trying to completely re-write the thing so as to save-oice and 2)
                                                  get it out to you for general review and comment in anticipation of
                                                  needing it soon. I greatly appreciate your time in reviewing and your
     10-Feb-17   10:10 PM     Strzok     Page     edits. I incorporated them. Thank you.
     10-Feb-17   10:11 PM     Strzok     Page     shoudl say 1) trying to not completely re-write....
     10-Feb-17   10:11 PM     Strzok     Page     should
     10-Feb-17   10:11 PM     Strzok     Page     f*ck.
     10-Feb-17   10:11 PM     Strzok     Page     I did the edits better than I'm IMing




SUBJECT TO PROTECTIVE ORDER                                                                                         DOJSCO • 700023475
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :            CRIMINAL NO. 09-335 (RJL)
                                             :
               v.                            :
                                             :
AMARO GONCALVES, et al.,                     :
                                             :
                      Defendants.            :
                                             :

                       GOVERNMENT’S UNOPPOSED MOTION TO
                      DISMISS PURSUANT TO FED. R. CRIM. P. 48(a)

       The United States of America, by and through its undersigned attorneys, hereby moves to

dismiss in the above-captioned case (1) the Superseding Indictment against defendants Jonathan

M. Spiller, Haim Geri, and Daniel Alvirez, and Count 1 of the Superseding Information against

defendant Daniel Alvirez, with prejudice, and (2) Count 2 of the Superseding Information

against defendant Daniel Alvirez without prejudice.

       1.      On April 16, 2010, Spiller, Geri, Alvirez, and other defendants were charged in a

Superseding Indictment with conspiracy to violate the Foreign Corrupt Practices Act (“FCPA”),

18 U.S.C. § 371, violations of the FCPA, 15 U.S.C. §§ 78dd-1 et seq., and conspiracy to commit

money laundering, 18 U.S.C. § 1956(h). On March 1, 2011, defendant Alvirez was charged in a

two-count Superseding Information. Count 1 charged the same conspiracy to violate the FCPA

that was charged in Count 1 of the Superseding Indictment (“the Gabon conspiracy count”).

Count 2 charged a separate conspiracy to violate the FCPA relating to the sale of military and

law enforcement equipment to the Republic of Georgia (“the Georgia conspiracy count”).

       2.      On March 1, 2011, defendant Alvirez pleaded guilty to both counts of the

Superseding Information – the Gabon conspiracy count and the Georgia conspiracy count. On

March 29, 2011, defendant Spiller pleaded guilty to the Gabon conspiracy count. On April 28,




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2011, defendant Geri pleaded guilty to the Gabon conspiracy count.

        3.      On December 22, 2011, at the close of the government’s case in the second trial

conducted in this matter, the Court granted the trial defendants’ motions for judgment of

acquittal, pursuant to Fed. R. Crim. P. 29, as to the Gabon conspiracy count, ruling that there

were structural deficiencies in the conspiracy as it was charged and that the government’s proof

at trial did not establish that conspiracy.

        4.      On February 21, 2012, the government moved to dismiss with prejudice the

Superseding Indictment against the defendants who were pending trial, including seven

defendants for whom the Court had granted mistrials following hung juries and nine defendants

who had yet to be tried. The government submitted that the continued prosecution of the case

was not warranted under the circumstances, given the outcomes of the first two trials, the

implications of certain evidentiary and other legal rulings in those trials for future trials, and the

substantial resources that would be necessary to proceed with another four or more trials. In an

Order dated February 23, 2012, the Court granted the government’s motion, and dismissed with

prejudice the Superseding Indictment, and all underlying indictments, against the defendants

who were pending trial.

        5.      Based on a review of the record, the government has concluded that the Court’s

ruling in the second trial as to the Gabon conspiracy count would apply equally to defendants

Spiller, Geri, and Alvirez. Although, as the Court knows, the government argued extensively in

opposition to the defendants’ Rule 29 motions and does not agree with the Court’s ruling, the

government accepts the Court’s decision. As a result of the Court’s ruling on the Gabon

conspiracy count, and in light of the reasons set forth in its prior motion to dismiss, the


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government has concluded that further prosecution of the Gabon-related charges against

defendants Spiller, Geri, and Alvirez is unlikely to be successful.

       6.      The government has also concluded that it is in the interests of justice not to

prosecute defendant Alvirez on the Georgia conspiracy count at this time, but rather to continue

the investigation of that and related conduct. Following such investigation, the government will

determine whether to bring criminal charges relating to that conduct.

       7.      The government has contacted counsel for defendants Spiller, Geri, and Alvirez

and they do not oppose this motion to dismiss.

       Accordingly, the government moves pursuant to Fed. R. Crim. P. 48(a) to dismiss in the

above-captioned case (1) the Superseding Indictment against defendants Jonathan M. Spiller,

Haim Geri, and Daniel Alvirez, and Count 1 of the Superseding Information against defendant

Daniel Alvirez, with prejudice, and (2) Count 2 of the Superseding Information against

defendant Daniel Alvirez without prejudice.

       Respectfully submitted,

       DENIS J. McINERNEY                                    RONALD C. MACHEN JR.
       Chief, Fraud Section                                  United States Attorney
                                                             In and For the District of Columbia


By:                 /s/                                                   /s/
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       JOEY LIPTON                                           Assistant United States Attorney
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       Washington, D.C. 20530
       (202) 514-7023




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
        V.                             )
                                       ) No. 08-231 (EGS)
THEODORE F. STEVENS,                   )
                                       )
                Defendant.             )

             MOTION OF THE UNITED STATES TO SET ASIDE THE VERDICT
                  AND DISMISS THE INDICTMENT WITH PREJUDICE

        In February 2009, the Acting Assistant Attorney General for the Criminal Division

appointed undersigned counsel to conduct the post-trial litigation in this matter. In preparing to

respond to defendant Theodore Stevens' various motions and in preparation for a possible

evidentiary hearing, undersigned counsel began collecting and reviewing documents and

interviewing potential witnesses. As the Court is aware, the Government has voluntaril

provided to the defense documents and summaries of witness interviews.

       The Government recently discovered that a witness interview of Bill Allen took place on

April 15, 2008. While no memorandum of interview or agent notes exist for this interview, notes

taken by two prosecutors who participated in the April 15 interview reflect that Bill Allen was

asked about a note dated October 6, 2002, that was sent from the defendant to Bill Allen. The

note was introduced at trial as Government Exhibit 495 and was referred to as the "Torricelli

note." The notes of the April 15 interview indicate that Bill Allen said, among other things, in

substance and in part, that he (Bill Allen) did not recall talking to Bob Persons regarding giving a

bill to the defendant. This statement by Allen during the April 15 interview was inconsistent

with Allen's recollection at trial, where he described a conversation with Persons about the
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Torricelli note. Iii addition, the April 15 interview notes indicate that Allen estimated that if his

workers had performed efficiently, the fair market value of the work his corporation performed

on defendant's Girdwood chalet would have been $80,000. Upon the discovery of the interview

notes last week, the Government immediately provided a copy to defense counsel.

        Defendant Stevens was not informed prior to or during trial of the statements by Bill

Allen on April 15, 2008. This information could have been used by the defendant to cross-

examine Bill Allen and in arguments to the jury. The Government also acknowledges that the

Government's Opposition to Defendant's Motion for a New Trial provided an account of the

Government's interviews of Bill Allen that is inaccurate. See Opposition at 42-43 (Dkt. No.

269).

        Given the facts of this particular case, the Government believes that granting a new trial

is in the interest ofjustice. See Fed. R. Crim. P. 33(a). The Government has further determined

that, based on the totality of circumstances and in the interest ofjustice, it will not seek a new



verdict and dismiss the indictment with prejudice.

        Further, as the Court is aware, certain matters in this case previously have been referred

to the Office of Professional Responsibility of the Department of Justice. The Government has

supplemented the referral to include the facts concerning the April 1 5th Bill Allen interview.

Once the inquiry into this matter is completed by the Office of Professional Responsibility, the

Government will share the findings of that inquiry with the Court.




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                         Respectfully submitted,




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                                 CERTIFICATE OF SERVICE

     I hereby certify that on this 1St day of April, 2009, I caused a copy of the foregoing
"MOTION OF THE UNITED STATES TO SET ASIDE THE VERDICT AND DISMISS THE
INDICTMENT WITH PREJUDICE" to be delivered electronically to the following:

Brendan V. Sullivan, Jr., Esq.
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                                                            ••


                                                  Paul M. O'Brien




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